              Case 24-17484-ABA                   Doc 1      Filed 07/29/24 Entered 07/29/24 21:48:10                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FASTLINE CARGO, LLC d/b/a FLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1403 Industrial Highway
                                  Cinnaminson, NJ 08077
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Burlington                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    FASTLINE CARGO, LLC d/b/a FLC                                                                Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    FASTLINE CARGO, LLC d/b/a FLC                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    FASTLINE CARGO, LLC d/b/a FLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 29, 2024
                                                  MM / DD / YYYY


                             X /s/ Amanjot Kaur                                                           Amanjot Kaur
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Ellen M. McDowell, Esq.                                                 Date July 29, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ellen M. McDowell, Esq.
                                 Printed name

                                 McDowell Law, PC
                                 Firm name

                                 46 West Main St.
                                 Maple Shade, NJ 08052
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     856-482-5544                  Email address      emcdowell@mcdowelllegal.com

                                  NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 29, 2024                   X /s/ Amanjot Kaur
                                                           Signature of individual signing on behalf of debtor

                                                            Amanjot Kaur
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name FASTLINE CARGO, LLC d/b/a FLC
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                              Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 BMO Harris Bank                                     2019 Volvo -                                          $135,748.00                 $70,000.00                $65,748.00
 111 W. Monroe St.                                   590,830 miles
 Chicago, IL 60603                                   2019 Volvo -
                                                     560,651 miles
 BMO Harris Bank                                     2019 Volvo -                                          $113,200.00                 $70,000.00                $43,200.00
 111 W. Monroe St.                                   660,162 miles
 Chicago, IL 60603                                   2019 Volvo -
                                                     767,705 miles
 Fulton Bank                                         2020 Hyundai HTC                                       $92,323.00                 $20,000.00                $72,323.00
 Attn: Loan                                          Trailer F135,
 Operations                                          Serial # ending
 1695 State Street                                   5035
 East Petersburg, PA
 17520
 Fulton Bank                                         2020 Freightliner                                     $103,844.00                 $40,000.00              $103,844.00
 Attn: Loan
 Operations
 1695 State Street
 East Petersburg, PA
 17520
 Fulton Bank                                         2020 Freightliner                                     $103,844.00                 $35,000.00              $103,844.00
 Attn: Loan
 Operations
 1695 State Street
 East Petersburg, PA
 17520
 Fulton Bank                                         2021 Volvo Truck                                       $92,323.00                        $0.00              $92,323.00
 Attn: Loan
 Operations
 1695 State Street
 East Petersburg, PA
 17520
 Fulton Bank                                         2021 Freightliner -                                $1,068,223.95                  $40,000.00            $1,068,223.95
 1695 State Street                                   477,145 miles
 East Petersburg, PA
 17520



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    FASTLINE CARGO, LLC d/b/a FLC                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Fulton Bank                                         2019 Hyundai Dry                                      $363,402.00                 $20,000.00              $343,402.00
 Attn: Loan                                          Van Trailer F133,
 Operations                                          Serial # ending
 1695 State Street                                   5004
 East Petersburg, PA
 17520
 Fulton Bank                                         2020 Freightliner                                     $180,470.00                 $40,000.00              $180,470.00
 Attn: Loan
 Operations
 1695 State Street
 East Petersburg, PA
 17520
 Fulton Bank                                                                                               $131,898.00                        $0.00            $131,898.00
 Attn: Loan
 Operations
 1695 State Street
 East Petersburg, PA
 17520
 Fulton Bank                                         2020 Freightliner                                     $103,844.00                 $40,000.00              $103,844.00
 Attn: Loan
 Operations
 1695 State Street
 East Petersburg, PA
 17520
 Lakeland Bank                                       2023 Hyundai Dry                                      $130,360.00                 $25,000.00              $105,360.00
 166 Changebridge                                    Van Trailer F123,
 Rd.                                                 Serial # ending
 Montville, NJ 07045                                 4026
 Libertas Funding,                                                                                                                                             $309,571.46
 LLC

 Libertas Funding,                                                                                                                                             $181,982.13
 LLC

 Motive                                                                                                                                                          $89,424.00
 55 Hawthorne
 Street, #400
 San Francisco, CA
 94105
 Newlane Finance                                     Equipment                                              $99,125.36                        $0.00              $99,125.36
 123 S. Broad St.
 17th Floor
 Philadelphia, PA
 19109
 Phoenixville Bank                                   2020 Freightliner                                      $84,179.00                 $35,000.00                $84,179.00
 564 Nutt Road
 Phoenixville, PA
 19460
 Phoenixville Bank                                   2020 Freightliner                                      $83,085.00                 $40,000.00                $43,085.00
 564 Nutt Road
 Phoenixville, PA
 19460

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    FASTLINE CARGO, LLC d/b/a FLC                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Santander                                           2023 Hyundai Dry                                      $232,940.00                 $25,000.00              $207,940.00
 75 State Street                                     Van Trailer F124,
 Boston, MA 02109                                    Serial # ending
                                                     4014
 SBA                                                                                                       $157,269.00                        $0.00            $157,269.00
 Two Gateway
 Center
 Suite 1002
 Newark, NJ
 07102-5006




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Fill in this information to identify the case:

Debtor name           FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,722,053.55

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,722,053.55


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,889,998.32


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           676,109.60


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,566,107.92




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Wells Fargo Bank                                  checking                              4199                                  $124,800.00




          3.2.     Fulton Bank                                       checking                              5914                                     $1,864.55




          3.3.     Phoenixville Bank                                 checking                                                                         $716.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $127,380.55
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           FASTLINE CARGO, LLC d/b/a FLC                                              Case number (If known)
                 Name




          7.1.     Security Deposit with landlord                                                                                      $33,600.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                         $33,600.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    849,073.00      -                                   0.00 = ....                $849,073.00
                                        face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $849,073.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
                                                                           debtor's interest         for current value       debtor's interest
                                                                           (Where available)

39.       Office furniture

40.       Office fixtures


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 2
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Debtor       FASTLINE CARGO, LLC d/b/a FLC                                                  Case number (If known)
             Name

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          desks, chairs, computers                                                   $4,000.00      Liquidation                             $0.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2021 Vanguard Dry Van Trailer F101,
                   Serial # ending 6833                                                   $0.00                                       $20,000.00


          47.2.    2021 Vanguard Dry Van Trailer F102,
                   Serial # ending 6832                                                   $0.00                                       $20,000.00


          47.3.    2021 Vanguard Dry Van Trailer F103,
                   Serial # ending 6829                                                   $0.00                                       $20,000.00


          47.4.    2021 Vanguard Dry Van Trailer F107,
                   Serial # ending 6830                                                   $0.00                                       $20,000.00


          47.5.    2021 Vanguard Dry Van Trailer F105,
                   Serial # ending 6831                                                   $0.00                                       $20,000.00


          47.6.    2021 Vanguard Dry Van Trailer F106,
                   Serial # ending 6569                                                   $0.00                                       $20,000.00


          47.7.    2021 Vanguard Dry Van Trailer F104,
                   Serial # ending 6568                                                   $0.00                                       $20,000.00


          47.8.    2021 Vanguard Dry Van Trailer F108,
                   Serial # ending 6572                                                   $0.00                                       $20,000.00

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                  Case number (If known)
            Name



         47.9.   2021 Vanguard Dry Van Trailer F109,
                 Serial # ending 6570                                     $0.00                           $20,000.00


         47.10 2021 Vanguard Dry Van Trailer F110,
         .     Serial # ending 6582                                       $0.00                           $20,000.00


         47.11 2018 Utility Dry Van Trailer F111, Serial #
         .     ending 1252 (total loss)                                   $0.00                                 $0.00


         47.12 2018 Utility Dry Van Trailer F112, Serial #
         .     ending 1259                                                $0.00                           $15,000.00


         47.13 2018 Utility Dry Van Trailer F113, Serial #
         .     ending 1257 (total loss)                                   $0.00                                 $0.00


         47.14 2018 Utility Trailer F114, Serial # ending
         .     1262                                                       $0.00                           $15,000.00


         47.15 2018 Utility Dry Van Trailer F115, Serial #
         .     ending 1279                                                $0.00                           $15,000.00


         47.16 2013 Wabash Dry Van Trailer F116,
         .     Serial # ending 6597                                       $0.00                           $10,000.00


         47.17 2017 Utility Dry Van Trailer F117, Serial #
         .     ending 3931                                                $0.00                           $13,000.00


         47.18 2017 Utility Dry Van Trailer F118, Serial #
         .     ending 6619                                                $0.00                           $13,000.00


         47.19 2002 Utility Refer Van Trailer F119,
         .     Serial # ending 7963                                       $0.00                            $6,000.00


         47.20 2023 Hyundai Dry Van Trailer F120,
         .     Serial # ending 4028                                       $0.00                           $25,000.00


         47.21 2023 Hyundai Dry Van Trailer F121,
         .     Serial # ending 4027                                       $0.00                           $25,000.00


         47.22 2023 Hyundai Dry Van Trailer F122,
         .     Serial # ending 4030                                       $0.00                           $25,000.00


         47.23 2023 Hyundai Dry Van Trailer F123,
         .     Serial # ending 4026                                       $0.00                           $25,000.00


         47.24 2023 Hyundai Dry Van Trailer F124,
         .     Serial # ending 4014                                       $0.00                           $25,000.00


Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                    page 4
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         47.25 2023 Hyundai Trailer F125, Serial #
         .     ending 4029                                               $0.00                           $25,000.00


         47.26 2023 Hyundai Dry Van Trailer F126,
         .     Serial # ending 4025                                      $0.00                           $25,000.00


         47.27 2023 Hyundai Dry Van Trailer F127,
         .     Serial # ending 4024                                      $0.00                           $25,000.00


         47.28 2023 Hyundai Dry Van Trailer F128,
         .     Serial # ending 4019                                      $0.00                           $25,000.00


         47.29 2023 Hyundai Dry Van Trailer F128,
         .     Serial # ending 4016                                      $0.00                           $25,000.00


         47.30 2019 Hyundai Dry Van Trailer F132,
         .     Serial # ending 5005                                      $0.00                           $20,000.00


         47.31 2019 Hyundai Dry Van Trailer F133,
         .     Serial # ending 5004                                      $0.00                           $20,000.00


         47.32 2020 Hyundai HTC Trailer F135, Serial #
         .     ending 5035                                               $0.00                           $20,000.00


         47.33 2019 Hyundai Dry Van Trailer F132,
         .     serial # ending 5005                                      $0.00                           $20,000.00


         47.34 2019 Hyundai Dry Van Trailer F133,
         .     serial # ending 5004                                      $0.00                           $20,000.00


         47.35 2020 Hyundai HTC Trail F135, serial #
         .     ending 5035                                               $0.00                           $20,000.00


         47.36 2020 Great Dane Dry Van Trailer F136,
         .     serial # ending 8905                                      $0.00                           $20,000.00


         47.37 2020 Hyundal HTC Trailer F137, serial #
         .     ending 5100                                               $0.00                           $20,000.00


         47.38 2020 Great Dane Trailer F138, serial #
         .     ending 8907                                               $0.00                           $20,000.00


         47.39 2020 Hyundai Trailer F139, serial #
         .     ending 5034                                               $0.00                           $20,000.00


         47.40 2014 Hyundai Dry Van Trailer F140,
         .     serial # ending 0030                                      $0.00                           $15,000.00


Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                    page 5
         Case 24-17484-ABA           Doc 1      Filed 07/29/24 Entered 07/29/24 21:48:10            Desc Main
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                  Case number (If known)
            Name



         47.41 2013 Great Dane Dry Van Trailer F141,
         .     serial # ending 1370                                       $0.00                           $15,000.00


         47.42 2016 Wabash Dry Van Trailer F130,
         .     serial # ending 3193                                       $0.00                           $15,000.00


         47.43 2019 Great Dane Champion Trailer F131,
         .     serial # ending 4856                                       $0.00                           $15,000.00


         47.44 2001 Wabash Dry Van Trailer GY5301,
         .     serial # ending 3143                                       $0.00                            $6,000.00


         47.45 2002 Wabash Dry Van Trailer GY5302,
         .     serial # ending 5473                                       $0.00                            $6,000.00


         47.46 2002 Wabash Dry Van Trailer GY5305,
         .     serial # ending 5951                                       $0.00    Appraisal               $6,000.00


         47.47 2002 Wabash Dry Van Trailer GY5308,
         .     serial # ending 5670                                       $0.00                            $6,000.00


         47.48 2002 Wabash Dry Van Trailer GY5311,
         .     serial # ending 5253                                       $0.00                            $6,000.00


         47.49
         .     2016 Volvo (904,830 miles)                                 $0.00                           $15,000.00


         47.50
         .     2017 Volvo (763,006 miles)                                 $0.00                           $21,000.00


         47.51
         .     2020 Kenworth (606,517 miles)                              $0.00                           $35,000.00


         47.52
         .     2015 Volvo (747,908 miles)                                 $0.00                           $25,000.00


         47.53
         .     2015 Volvo (721,302 miles)                                 $0.00                           $25,000.00


         47.54
         .     2016 Volvo (586,137 miles)                                 $0.00                           $25,000.00


         47.55
         .     2023 Volvo (272,638 miles)                                 $0.00                           $55,000.00


         47.56
         .     2015 Mack (395,092 miles)                                  $0.00                           $10,000.00




Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                    page 6
         Case 24-17484-ABA            Doc 1     Filed 07/29/24 Entered 07/29/24 21:48:10             Desc Main
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                  Case number (If known)
            Name

         47.57
         .     2014 Volvo (790,266 miles)                                 $0.00                            $15,000.00


         47.58
         .     2017 Freightliner (804,851 miles)                          $0.00                            $15,000.00


         47.59
         .     2019 Volvo x4000                                           $0.00    Comparable sale         $21,000.00


         47.60
         .     2019 Volvo x4004                                           $0.00    Comparable sale         $21,000.00


         47.61
         .     2002 Kenworth                                              $0.00    Comparable sale         $40,000.00


         47.62
         .     2022 Kenworth                                              $0.00    Comparable sale         $40,000.00


         47.63
         .     2020 Freightliner                                          $0.00    Comparable sale         $35,000.00


         47.64
         .     2020 Freightliner                                          $0.00                            $40,000.00


         47.65
         .     2019 Volvo - 579,027 miles                                 $0.00    Comparable sale         $35,000.00


         47.66
         .     2018 Volvo - 757,833 miles                                 $0.00    Comparable sale         $21,000.00


         47.67
         .     2019 Volvo - 719,574 miles                                 $0.00    Comparable sale         $21,000.00


         47.68
         .     2021 Freightliner - 477,145 miles                          $0.00    Comparable sale         $40,000.00


         47.69
         .     2018 Volvo - 593,404 miles                                 $0.00    Comparable sale         $20,000.00


         47.70
         .     2022 Kenworth - 419,898 miles                              $0.00    Comparable sale         $40,000.00


         47.71
         .     2019 Volvo - 810,291 miles                                 $0.00    Comparable sale         $40,000.00


         47.72
         .     2018 Volvo - 840,001 miles                                 $0.00    Comparable sale         $20,000.00


         47.73
         .     2018 Volvo - 660,162 miles                                 $0.00    Comparable sale         $30,000.00




Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                     page 7
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Debtor        FASTLINE CARGO, LLC d/b/a FLC                                                Case number (If known)
              Name

           47.74
           .     2020 Freightliner                                                       $0.00     Comparable sale          $40,000.00


           47.75 2019 Volvo - 590,830 miles
           .     2019 Volvo - 560,651 miles                                              $0.00     Comparable sale          $70,000.00


           47.76 2019 Volvo - 660,162 miles
           .     2019 Volvo - 767,705 miles                                              $0.00     Comparable sale          $70,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                            $1,712,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                             page 8
            Case 24-17484-ABA                             Doc 1          Filed 07/29/24 Entered 07/29/24 21:48:10                                         Desc Main
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Debtor          FASTLINE CARGO, LLC d/b/a FLC                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $127,380.55

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $33,600.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $849,073.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,712,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $2,722,053.55            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,722,053.55




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 9
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Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Amur Equipment Financing                     Describe debtor's property that is subject to a lien                   $54,073.12                $40,000.00
      Creditor's Name                              2021 Freightliner - 477,145 miles
      304 W. 3d St.
      Grand Island, NE 68801
      Creditor's mailing address                   Describe the lien
                                                   Equipment Loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7899
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Amur Equipment
      Financing
      2. Fulton Bank

2.2   BMO Harris Bank                              Describe debtor's property that is subject to a lien                   $19,818.00                $20,000.00
      Creditor's Name                              2018 Volvo - 840,001 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                   Describe the lien
                                                   equipment loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 18
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $7,547.00            $0.00
      Creditor's Name

      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $2,945.00       $21,000.00
      Creditor's Name                             2018 Volvo - 757,833 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $7,691.00       $21,000.00
      Creditor's Name                             2019 Volvo - 719,574 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 18
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   BMO Harris Bank                             Describe debtor's property that is subject to a lien                      $25,933.00       $40,000.00
      Creditor's Name                             2019 Volvo - 810,291 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $113,200.00       $70,000.00
      Creditor's Name                             2019 Volvo - 660,162 miles
                                                  2019 Volvo - 767,705 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 18
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name


2.8   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $75,122.00       $40,000.00
      Creditor's Name                             2020 Freightliner
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. BMO Harris Bank
      2. Fulton Bank

2.9   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $10,336.00       $20,000.00
      Creditor's Name                             2018 Volvo - 593,404 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $51,868.00       $35,000.00
      Creditor's Name                             2019 Volvo - 579,027 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4 of 18
          Case 24-17484-ABA                       Doc 1          Filed 07/29/24 Entered 07/29/24 21:48:10                                Desc Main
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Last 4 digits of account number
      9001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
1     BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $135,748.00       $70,000.00
      Creditor's Name                             2019 Volvo - 590,830 miles
                                                  2019 Volvo - 560,651 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     BMO Harris Bank                             Describe debtor's property that is subject to a lien                      $15,760.00       $30,000.00
      Creditor's Name                             2018 Volvo - 660,162 miles
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
3     BMO Harris Bank                             Describe debtor's property that is subject to a lien                       $3,774.00       $21,000.00




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            Name

      Creditor's Name                             2019 Volvo x4000
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
4     BMO Harris Bank                             Describe debtor's property that is subject to a lien                      $3,774.00       $21,000.00
      Creditor's Name                             2019 Volvo x4004
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
5     CCG                                         Describe debtor's property that is subject to a lien                     $48,080.00       $20,000.00
      Creditor's Name                             2021 Vanguard Dry Van Trailer F101, Serial #
      525 N. Tryon St.                            ending 6833
      Suite 1000
      Charlotte, NC 28202
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2001

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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
6     Channel Partners                            Describe debtor's property that is subject to a lien                      $52,731.30       $40,000.00
      Creditor's Name                             2022 Kenworth - 419,898 miles



      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      481M
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     Fulton Bank                                 Describe debtor's property that is subject to a lien                      $92,323.00       $20,000.00
      Creditor's Name                             2020 Hyundai HTC Trailer F135, Serial #
      Attn: Loan Operations                       ending 5035
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9005
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
8     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $363,402.00       $20,000.00
      Creditor's Name                             2019 Hyundai Dry Van Trailer F133, Serial #
      Attn: Loan Operations                       ending 5004
      1695 State Street
      East Petersburg, PA 17520

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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9003
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
9     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $131,898.00            $0.00
      Creditor's Name
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien - APU Units
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9004
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
0     Fulton Bank                                 Describe debtor's property that is subject to a lien                      $92,323.00            $0.00
      Creditor's Name                             2021 Volvo Truck
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9005
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
1     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $180,470.00       $40,000.00
      Creditor's Name                             2020 Freightliner
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9006
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. Phoenixville Bank
      2. Fulton Bank
      3. Fulton Bank

2.2
2     Fulton Bank                                 Describe debtor's property that is subject to a lien                 $1,068,223.95         $40,000.00
      Creditor's Name                             2021 Freightliner - 477,145 miles

      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.2
3     Fulton Bank                                 Describe debtor's property that is subject to a lien                      $24,998.00       $35,000.00




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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Creditor's Name                             2020 Kenworth (606,517 miles)
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1982
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
4     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $103,844.00       $35,000.00
      Creditor's Name                             2020 Freightliner
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2060
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. M2 Equipment Finance
      2. Phoenixville Bank
      3. Fulton Bank

2.2
5     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $103,844.00       $40,000.00
      Creditor's Name                             2020 Freightliner
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No


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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2061
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.21

2.2
6     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $103,844.00       $40,000.00
      Creditor's Name                             2020 Freightliner
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2062
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.8

2.2
7     Fulton Bank                                 Describe debtor's property that is subject to a lien                      $24,998.00            $0.00
      Creditor's Name                             2020 Kenworth
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1981
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
8     KAL Trailers                                Describe debtor's property that is subject to a lien                      $18,344.00       $20,000.00


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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Creditor's Name                             2021 Vanguard Dry Van Trailer F110, Serial #
                                                  ending 6582
      10156 Live Oak Ave.
      Fontana, CA 92335
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
9     Lakeland Bank                               Describe debtor's property that is subject to a lien                     $130,360.00       $25,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F123, Serial #
                                                  ending 4026
      166 Changebridge Rd.
      Montville, NJ 07045
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8203
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
0     M2 Equipment Finance                        Describe debtor's property that is subject to a lien                      $39,142.59       $35,000.00
      Creditor's Name                             2020 Freightliner
      20800 Swenson Dr.
      Suite 475
      Waukesha, WI 53186
      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number



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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.24

2.3
1     Newlane Finance                             Describe debtor's property that is subject to a lien                     $99,125.36            $0.00
      Creditor's Name                             Equipment
      123 S. Broad St.
      17th Floor
      Philadelphia, PA 19109
      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan-APU Units
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
2     Paccar Financial                            Describe debtor's property that is subject to a lien                     $64,414.00       $40,000.00
      Creditor's Name                             2002 Kenworth
      240 Gibraltor Road
      #200
      Horsham, PA 19044
      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6388
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
3     Paccar Financial                            Describe debtor's property that is subject to a lien                     $62,571.00       $40,000.00
      Creditor's Name                             2022 Kenworth
      240 Gibraltor Road
      #200
      Horsham, PA 19044

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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2455
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
4     Phoenixville Bank                           Describe debtor's property that is subject to a lien                     $84,179.00       $35,000.00
      Creditor's Name                             2020 Freightliner
      564 Nutt Road
      Phoenixville, PA 19460
      Creditor's mailing address                  Describe the lien
                                                  Equipment Loans
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.24

2.3
5     Phoenixville Bank                           Describe debtor's property that is subject to a lien                     $83,085.00       $40,000.00
      Creditor's Name                             2020 Freightliner
      564 Nutt Road
      Phoenixville, PA 19460
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.21

2.3
6     Santander                                   Describe debtor's property that is subject to a lien                     $232,940.00       $25,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F124, Serial #
                                                  ending 4014
      75 State Street
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien
                                                  blanket lien on 5 Hyundai Dry Van Trailers
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
7     Santander                                   Describe debtor's property that is subject to a lien                           $0.00       $25,000.00
      Creditor's Name                             2023 Hyundai Trailer F125, Serial # ending
                                                  4029
      75 State Street
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien
                                                  blanket lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
8     Santander                                   Describe debtor's property that is subject to a lien                           $0.00       $25,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F126, Serial #
                                                  ending 4025
      75 State Street
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien
                                                  blanket lien

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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
9     Santander                                   Describe debtor's property that is subject to a lien                     $0.00       $25,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F127, Serial #
                                                  ending 4024
      75 State Street
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien
                                                  blanket lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
0     Santander                                   Describe debtor's property that is subject to a lien                     $0.00       $25,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F128, Serial #
                                                  ending 4019
      75 State Street
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien
                                                  blanket lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                        page 16 of 18
           Case 24-17484-ABA                       Doc 1          Filed 07/29/24 Entered 07/29/24 21:48:10                                  Desc Main
                                                                 Document      Page 36 of 64
Debtor       FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.4
1      Santander                                   Describe debtor's property that is subject to a lien                            $0.00             $25,000.00
       Creditor's Name                             2023 Hyundai Dry Van Trailer F128, Serial #
                                                   ending 4016
       75 State Street
       Boston, MA 02109
       Creditor's mailing address                  Describe the lien
                                                   blanket lien
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.4
2      SBA                                         Describe debtor's property that is subject to a lien                     $157,269.00                   $0.00
       Creditor's Name
       Two Gateway Center
       Suite 1002
       Newark, NJ 07102-5006
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $3,889,998.3
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       2

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 17 of 18
         Case 24-17484-ABA           Doc 1      Filed 07/29/24 Entered 07/29/24 21:48:10                              Desc Main
                                               Document      Page 37 of 64
Debtor    FASTLINE CARGO, LLC d/b/a FLC                                     Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did        Last 4 digits of
                                                                                    you enter the related creditor?    account number for
                                                                                                                       this entity




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 18 of 18
            Case 24-17484-ABA                      Doc 1        Filed 07/29/24 Entered 07/29/24 21:48:10                                          Desc Main
                                                               Document      Page 38 of 64
Fill in this information to identify the case:

Debtor name        FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,800.24
          Amazon Capital Services                                              Contingent
          P.O. Box 035184                                                      Unliquidated
          Seattle, WA 98124-5184                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number XB9l
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          American Express Credit Card                                         Contingent
          P.O. Box 1270                                                        Unliquidated
          Newark, NJ 07101-1270                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 1004
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Bergeys Truck Centers                                                Contingent
          462 Harleysville Pike                                                Unliquidated
          Souderton, PA 18964                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 9417
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $600.00
          Chick's Towing                                                       Contingent
          1000 Union Landing Road                                              Unliquidated
          Riverton, NJ 08077                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 5
                                                                                                          48063
           Case 24-17484-ABA                  Doc 1         Filed 07/29/24 Entered 07/29/24 21:48:10                                     Desc Main
                                                           Document      Page 39 of 64
Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                   Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,326.00
         Concentra                                                    Contingent
         Occupational Health Centers of NJ                            Unliquidated
         P.O. Box 8750                                                Disputed
         Elkridge, MD 21075-8750
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 8684                      Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $86.71
         Confires Fire Protection Services                            Contingent
         910 Oak Tree Avenue                                          Unliquidated
         South Plainfield, NJ 07080                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number x764
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $350.00
         Crystal Springs                                              Contingent
         P.O. Box 660579                                              Unliquidated
         Dallas, TX 75266-0579                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2821
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         CSAA Insurance Group                                         Contingent
         PO Box 60277                                                 Unliquidated
         Los Angeles, CA 90060-0277                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         CSAA Insurance Group                                         Contingent
         PO Box 60277                                                 Unliquidated
         Los Angeles, CA 90060-0277                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $440.37
         DAT Solutions                                                Contingent
         Box 3801                                                     Unliquidated
         P.O. Box 783801                                              Disputed
         Philadelphia, PA 19178-3801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4625                      Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,600.00
         Federal Motor Carrier Safety Administrat                     Contingent
         31 Hopkins Plaza, Suite 800                                  Unliquidated
         Baltimore, MD 21201                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4747
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 5
           Case 24-17484-ABA                  Doc 1         Filed 07/29/24 Entered 07/29/24 21:48:10                                     Desc Main
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                   Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,653.35
         Helpe, Inc.                                                  Contingent
         2604 Broad Street                                            Unliquidated
         Camden, SC 29020                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,000.00
         Jagjit Singh                                                 Contingent
         13 Thorn Brian Lane                                          Unliquidated
         Burlington, NJ 08016                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $309,571.46
         Libertas Funding, LLC                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $181,982.13
         Libertas Funding, LLC                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,229.32
         McCarthy Tire Services                                       Contingent
         340 Kidder Street                                            Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $89,424.00
         Motive                                                       Contingent
         55 Hawthorne Street, #400                                    Unliquidated
         San Francisco, CA 94105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 7209
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,890.00
         Paragon Insurance                                            Contingent
         45 Nod Road                                                  Unliquidated
         Avon, CT 06001                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2901
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 5
           Case 24-17484-ABA                  Doc 1         Filed 07/29/24 Entered 07/29/24 21:48:10                                     Desc Main
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                   Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,900.00
         PCS                                                          Contingent
         2103 CityWest Blvd.                                          Unliquidated
         Bldg 4, Suite 700                                            Disputed
         Houston, TX 77042
                                                                   Basis for the claim: software subscription
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $532.00
         PSE&G                                                        Contingent
         P.O. Box 14444                                               Unliquidated
         New Brunswick, NJ 08906-4444                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 5008
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.00
         Quickbooks-Intuit, Inc.                                      Contingent
         2800 E. Commerce Center Place                                Unliquidated
         Tucson, AZ 85706                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4016
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,872.00
         T-Mobile                                                     Contingent
         Attn: Bankruptcy                                             Unliquidated
         P.O. Box 742596                                              Disputed
         Cincinnati, OH 45274
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4148                      Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         U.S. Bank Financing (Forklift)                               Contingent
         1310 Madrid Street                                           Unliquidated
         Marshall, MN 56258                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 8161,6644,6642
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,660.00
         Vantage Towing                                               Contingent
         107 S. Bridgeboro Street                                     Unliquidated
         Riverside, NJ 08075                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Wells Fargo Business                                         Contingent
         EssentIal Credit Card                                        Unliquidated
         P.O. Box 77033                                               Disputed
         Minneapolis, MN 55480-7733
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 5027                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 5
           Case 24-17484-ABA                      Doc 1        Filed 07/29/24 Entered 07/29/24 21:48:10                                          Desc Main
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Debtor       FASTLINE CARGO, LLC d/b/a FLC                                                          Case number (if known)
             Name

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          XPO Logistics (Rent)                                                Contingent
          2211 Old Earnhart Road, Suite 100                                   Unliquidated
          Ann Arbor, MI 48105                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 3047
                                                                           Is the claim subject to offset?       No     Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $12,102.02
          Xtra Lease                                                          Contingent
          5316 Oakview Drive                                                  Unliquidated
          Allentown, PA 18104-9351                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number Y3CZ
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       676,109.60

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          676,109.60




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
          Case 24-17484-ABA                   Doc 1       Filed 07/29/24 Entered 07/29/24 21:48:10                                 Desc Main
                                                         Document      Page 43 of 64
Fill in this information to identify the case:

Debtor name       FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease #xxx31981
           lease is for and the nature of        2020 Kenworth Tractor
           the debtor's interest                 VIN
                                                 #1XKYD49X4LJ399920
               State the term remaining
                                                                                    Fulton Bank Leasing Dept.
           List the contract number of any                                          P.O. Box 25091
                 government contract                                                Lehigh Valley, PA 18002-5091


2.2.       State what the contract or            Lease xxx31982
           lease is for and the nature of        2020 Kenworth Tractor
           the debtor's interest                 VIN
                                                 #1XKYD49X1LJ399969
               State the term remaining
                                                                                    Fulton Bank Leasing Dept.
           List the contract number of any                                          P.O. Box 25091
                 government contract                                                Lehigh Valley, PA 18002-5091


2.3.       State what the contract or            Lease XXX32060
           lease is for and the nature of        2020 Freightliner
           the debtor's interest                 Tractor
                                                 VIN
                                                 #1FUJHHDR4LLKS3691
               State the term remaining
                                                                                    Fulton Bank Leasing Dept.
           List the contract number of any                                          P.O. Box 25091
                 government contract                                                Lehigh Valley, PA 18002-5091


2.4.       State what the contract or            Lease XXX32061
           lease is for and the nature of        2020 Freightliner
           the debtor's interest                 Tractor
                                                 VIN
                                                 #1FUJHHDR0LLKS3705
               State the term remaining
                                                                                    Fulton Bank Leasing Dept.
           List the contract number of any                                          P.O. Box 25091
                 government contract                                                Lehigh Valley, PA 18002-5091


Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
         Case 24-17484-ABA                 Doc 1    Filed 07/29/24 Entered 07/29/24 21:48:10                  Desc Main
                                                   Document      Page 44 of 64
Debtor 1 FASTLINE CARGO, LLC d/b/a FLC                                           Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Lease XXX32062
          lease is for and the nature of    2020 Freightliner
          the debtor's interest             Tractor
                                            VIN
                                            1FUJHHDR1LLKS3700
             State the term remaining
                                                                        Fulton Bank Leasing Dept.
          List the contract number of any                               P.O. Box 25091
                government contract                                     Lehigh Valley, PA 18002-5091


2.6.      State what the contract or        Factoring Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       12 months
                                                                        RTS Financial Service, Inc.
          List the contract number of any                               9300 Metcalf Ave.
                government contract                                     Overland Park, KS 66212


2.7.      State what the contract or        Real Estate Lease -
          lease is for and the nature of    business operations
          the debtor's interest
                                                                        XPO Logistics
             State the term remaining       4 years                     Attn Real Estate
                                                                        2211 Old Earhart Road
          List the contract number of any                               Suite 100
                government contract                                     Ann Arbor, MI 48105




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
         Case 24-17484-ABA                  Doc 1      Filed 07/29/24 Entered 07/29/24 21:48:10                               Desc Main
                                                      Document      Page 45 of 64
Fill in this information to identify the case:

Debtor name      FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Amanjot Kaur                1403 Industrial Highway                                   Fulton Bank                        D
                                      Cinnaminson, NJ 08077-1000                                                                   E/F
                                                                                                                                   G




   2.2    Amritraj Singh              1403 Industrial Highway                                   Fulton Bank                        D
                                      Cinnaminson, NJ 08077                                                                        E/F
                                                                                                                                   G




   2.3    Amritraj Singh              13 Thorn Briar Ln.                                        RTS Financial                      D
                                      Burlington, NJ 08016                                      Service, Inc.                      E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $4,360,860.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $12,605,604.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                           $11,914,856.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See attached list                                                                            $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    Fulton Bank v. Fastline                  Replevin Action             Burlington County Superior                      Pending
              Cargo, LLC, et al.                                                   Court                                           On appeal
              BUR-1399-24                                                          49 Rancocas Road
                                                                                                                                   Concluded
                                                                                   Mount Holly, NJ 08060


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions



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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                        Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      2 trailers destroyed in fire -                  $8,000.00                                                  4/30/24                            $0.00
      2002 Wabash Trailer - VIN
      #1JJV532W72L775253

      2018 53' Trailer Model VS2DX                    $22,000.00                                                                                    $0.00
      VIN 1UYVS253XJ7471263

      2021 Freightliner Cascadia                      $94,097.54                                                 12/18/23                           $0.00
      PT126SLP
      VIN 3AKJHHDROMSMH8971

      2018 Utility Dry Van                            Claim Pending                                              6/7/24                             $0.00
      VIN 1UYVS2530J7471252

      Unit 6030 2020KW T680                           $53,295.58                                                 3/2/24                             $0.00
      1XKYD49X7LJ399958


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    McDowell Law, PC
               46 West Main St.                                                                                       July 19,
               Maple Shade, NJ 08052                                                                                  2024                    $15,000.00

               Email or website address


               Who made the payment, if not debtor?




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Debtor        FASTLINE CARGO, LLC d/b/a FLC                                                      Case number (if known)



               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address
      11.2.    Gerstein Grayson and Cohen
               1288 Route 73 South, Suite
               301
               Mount Laurel, NJ 08054                                                                                                             $1,100.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To
      14.1.    41 Twosome Dr.                                                                                       Jan. 2022 to June 2023
               Moorestown, NJ 08057

      14.2.    1100 Taylors Lane                                                                                    Jan. 2019 to Dec. 2021
               Cinnaminson, NJ 08077

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

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Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
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     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Salvatore Giampapa                                                                                                 June 2022 to
                    1202 Laurel Oak Rd., #205                                                                                          present
                    Voorhees, NJ 08043

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None




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      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Fulton Bank
                    Route 70
                    Cherry Hill, NJ 08002

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Amanjot Kaur                            1403 Industrial Highway                             CEO                                       51%
                                              Cinnaminson, NJ 08077

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Amritraj Singh                          1403 Industrial Highway                             COO                                       49%
                                              Cinnaminson, NJ 08077



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value
      30.1 Amanjot Kaur
      .    1403 Industrial Highway                                                                               June 2023 to
               Cinnaminson, NJ 08077                   $104,500                                                  June 2024             payroll

               Relationship to debtor
               51% owner




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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                       Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.2 Amritraj Singh
      .    1403 Industrial Highway                                                                               June 2023 to
             Cinnaminson, NJ 08077                     $111,277                                                  June 2024         payroll

             Relationship to debtor
             49% owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 29, 2024

/s/ Amanjot Kaur                                                Amanjot Kaur
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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Attachment - Question 3 Statement of Financial Affairs

             Payee                  Amount
Fly Pilot (Diesel)                   $756,118.10
Driver Pay                           $601,857.55
Prepass                              $169,940.42
ADP- Payroll                         $124,988.63
Libertas Funding                     $121,339.45
BMO Bank                              $95,740.45
XPO Logistics                         $82,371.00
EFS LLC                               $82,047.14
NJ Motor Vehicle Commission           $77,406.67
Transport Insurance                   $65,000.00
Capital One Card                      $60,480.21
First Insurance                       $51,506.46
National Holistic                     $40,000.00
XTRA Lease                            $36,827.87
ADP- Payroll Tax Payable              $36,599.60
Close Proximity Roadside Assistance   $33,041.50
Brian Omps Towing and Repair          $20,000.00
Santander Bank                        $16,269.00
Fulton Bank- Transfer                 $13,800.00
Paccar Financial                      $13,185.72
Gurshan Enterprises                   $13,143.28
IRS- CBT Tax                          $12,650.00
Lakeland Bank                         $11,566.59
Kal Trailers                          $11,310.21
Parts Bazaar                          $11,000.00
Fly Pilot                             $10,700.30
Newlane Equipment                     $10,072.32
Amur Equipment                         $9,993.00
CCG Loan Payment                       $9,738.00
Channel Partners                       $9,029.76
PCS Software                           $8,700.00
Tmobile                                $7,346.15
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                                                        United States Bankruptcy Court
                                                                     District of New Jersey
 In re       FASTLINE CARGO, LLC d/b/a FLC                                                                    Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                 15,000.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                      425.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
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                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   July 29, 2024                                                         /s/ Ellen M. McDowell, Esq.
   Date                                                                  Ellen M. McDowell, Esq.
                                                                         Signature of Attorney
                                                                         McDowell Law, PC
                                                                         46 West Main St.
                                                                         Maple Shade, NJ 08052
                                                                         856-482-5544 Fax: 856-482-5511
                                                                         emcdowell@mcdowelllegal.com
                                                                         Name of law firm
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                                                      United States Bankruptcy Court
                                                                  District of New Jersey
 In re    FASTLINE CARGO, LLC d/b/a FLC                                                                           Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Amanjot Kaur                                                                                                                 51% membership interest
1403 Industrial Highway
Cinnaminson, NJ 08077

Amritraj Singh                                                                                                               49% membership interest
1403 Industrial Highway
Cinnaminson, NJ 08077


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date July 29, 2024                                                       Signature /s/ Amanjot Kaur
                                                                                        Amanjot Kaur

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                         District of New Jersey
 In re   FASTLINE CARGO, LLC d/b/a FLC                                                           Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     July 29, 2024                                  /s/ Amanjot Kaur
                                                         Amanjot Kaur/CEO
                                                         Signer/Title
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                        Amanjot Kaur
                        1403 Industrial Highway
                        Cinnaminson, NJ 08077-1000


                        Amazon Capital Services
                        P.O. Box 035184
                        Seattle, WA 98124-5184


                        American Express Credit Card
                        P.O. Box 1270
                        Newark, NJ 07101-1270


                        Amritraj Singh
                        1403 Industrial Highway
                        Cinnaminson, NJ 08077


                        Amritraj Singh
                        13 Thorn Briar Ln.
                        Burlington, NJ 08016


                        Amur Equipment Financing
                        304 W. 3d St.
                        Grand Island, NE 68801


                        Bergeys Truck Centers
                        462 Harleysville Pike
                        Souderton, PA 18964


                        BMO Harris Bank
                        111 W. Monroe St.
                        Chicago, IL 60603


                        Capital Premium Financing, LLC (Insuranc
                        P.O. Box 667180
                        Dallas, TX 75266-7180


                        CCG
                        525 N. Tryon St.
                        Suite 1000
                        Charlotte, NC 28202


                        Channel Partners
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                    Chick's Towing
                    1000 Union Landing Road
                    Riverton, NJ 08077


                    Concentra
                    Occupational Health Centers of NJ
                    P.O. Box 8750
                    Elkridge, MD 21075-8750


                    Confires Fire Protection Services
                    910 Oak Tree Avenue
                    South Plainfield, NJ 07080


                    Crystal Springs
                    P.O. Box 660579
                    Dallas, TX 75266-0579


                    CSAA Insurance Group
                    PO Box 60277
                    Los Angeles, CA 90060-0277


                    DAT Solutions
                    Box 3801
                    P.O. Box 783801
                    Philadelphia, PA 19178-3801


                    Federal Motor Carrier Safety Administrat
                    31 Hopkins Plaza, Suite 800
                    Baltimore, MD 21201


                    Fulton Bank
                    Attn: Loan Operations
                    1695 State Street
                    East Petersburg, PA 17520


                    Fulton Bank
                    1695 State Street
                    East Petersburg, PA 17520


                    Fulton Bank Leasing Dept.
                    P.O. Box 25091
                    Lehigh Valley, PA 18002-5091
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                    Helpe, Inc.
                    2604 Broad Street
                    Camden, SC 29020


                    Jagjit Singh
                    13 Thorn Brian Lane
                    Burlington, NJ 08016


                    KAL Trailers
                    10156 Live Oak Ave.
                    Fontana, CA 92335


                    Lakeland Bank
                    166 Changebridge Rd.
                    Montville, NJ 07045


                    Libertas Funding, LLC



                    M2 Equipment Finance
                    20800 Swenson Dr.
                    Suite 475
                    Waukesha, WI 53186


                    McCarthy Tire Services
                    340 Kidder Street
                    Wilkes Barre, PA 18702


                    Motive
                    55 Hawthorne Street, #400
                    San Francisco, CA 94105


                    Newlane Finance
                    123 S. Broad St.
                    17th Floor
                    Philadelphia, PA 19109


                    Paccar Financial
                    240 Gibraltor Road
                    #200
                    Horsham, PA 19044


                    Paragon Insurance
                    45 Nod Road
                    Avon, CT 06001
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                    PCS
                    2103 CityWest Blvd.
                    Bldg 4, Suite 700
                    Houston, TX 77042


                    Phoenixville Bank
                    564 Nutt Road
                    Phoenixville, PA 19460


                    PSE&G
                    P.O. Box 14444
                    New Brunswick, NJ 08906-4444


                    Quickbooks-Intuit, Inc.
                    2800 E. Commerce Center Place
                    Tucson, AZ 85706


                    RTS Financial Service, Inc.
                    9300 Metcalf Ave.
                    Overland Park, KS 66212


                    Santander
                    75 State Street
                    Boston, MA 02109


                    SBA
                    Two Gateway Center
                    Suite 1002
                    Newark, NJ 07102-5006


                    T-Mobile
                    Attn: Bankruptcy
                    P.O. Box 742596
                    Cincinnati, OH 45274


                    U.S. Bank Financing (Forklift)
                    1310 Madrid Street
                    Marshall, MN 56258


                    Vantage Towing
                    107 S. Bridgeboro Street
                    Riverside, NJ 08075
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                    Wells Fargo Business
                    EssentIal Credit Card
                    P.O. Box 77033
                    Minneapolis, MN 55480-7733


                    XPO Logistics
                    Attn Real Estate
                    2211 Old Earhart Road
                    Suite 100
                    Ann Arbor, MI 48105


                    XPO Logistics (Rent)
                    2211 Old Earnhart Road, Suite 100
                    Ann Arbor, MI 48105


                    Xtra Lease
                    5316 Oakview Drive
                    Allentown, PA 18104-9351
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                                          United States Bankruptcy Court
                                                   District of New Jersey
 In re   FASTLINE CARGO, LLC d/b/a FLC                                                 Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for FASTLINE CARGO, LLC d/b/a FLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 29, 2024                                    /s/ Ellen M. McDowell, Esq.
Date                                             Ellen M. McDowell, Esq.
                                                 Signature of Attorney or Litigant
                                                 Counsel for FASTLINE CARGO, LLC d/b/a FLC
                                                 McDowell Law, PC
                                                 46 West Main St.
                                                 Maple Shade, NJ 08052
                                                 856-482-5544 Fax:856-482-5511
                                                 emcdowell@mcdowelllegal.com
